AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Wisconsin
                                                                           __________


                      Melissa Hall, et al.                         )
                             Plaintiff                             )
                                v.                                 )      Case No.     17-CV-379
                  City of Milwaukee, et. al.                       )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff                                                                                                            .


Date:          12/14/2018                                                                    s/ Megan Pierce
                                                                                             Attorney’s signature


                                                                                     Megan Pierce (CA Bar No. 314044)
                                                                                         Printed name and bar number
                                                                                              Loevy & Loevy
                                                                                      311 N. Aberdeen St, Third Floor
                                                                                            Chicago, IL 60607

                                                                                                   Address

                                                                                            megan@loevy.com
                                                                                               E-mail address

                                                                                              (312) 243-5900
                                                                                              Telephone number

                                                                                              (312) 243-5902
                                                                                                FAX number


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